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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION

TEU SERVICES, lNC., §
Plaintiff §
§

v. § Case No. SA-lG-CV-1023
§
INVENTRONICS USA, INC., §
Defendant §

REPORT OF CONFERENCE IN ACCORDANCE WITH RULE 26(1`)

COME NOW TEU Services, Inc. (Plaintiff) and lnventronics USA, Inc. (Defendant) and
file this their Report of Conf`erence in accordance With Rule 26(f) of the Federal Rules of` Civil
Procedure. In accordance thereto, the Parties Would make the following Report:

Parties.

l. TEU Services, Inc. and Inventronics USA, Inc. are currently all of the Parties involved in
this litigation The Parties acknowledge that this Court has jurisdiction in this case by virtue of
28 U.S.C. § l332(a)(1) (Diversity).

Conference Timing.

2. The Parties have conferred by telephone and by Written correspondence The
conferencing began on April ll, 2018. This case Was originally filed in State Court and then
removed to this Court. Af`terward, Def`endant filed Motions to Dismiss for Failure to State a
Claim. Responsive Pleadings Were filed and the Court recently made a Ruling on the Motion.
Theref`ore, the Rule 26(f`) Conf`erence occurred timely after the Court had made a Final Ruling

concerning the various Motions to Dismiss.

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Conference Content.

3. In the course of the conferencing, the Parties considered and discussed the following:

l. The nature and basis of their claims and defenses;

2. The possibilities for promptly settling or resolving the case;
3. Making arrangements for Rule 26(a) lnitial Disclosures;

4. Preservation of discoverable information; and

5. Proposed discovery.

The Conference was conducted by telephone and was attended by all attorneys of record.

4. The Parties believe that it would be to each of their benefits to attempt to reach an early
resolution prior to discovery. To that end, the Parties have agreed that Plaintiff will submit a
written offer of settlement in the form of a Mediation Statement by May 15, 2018 and Defendant
will respond by May 31, 2018. The Parties have agreed to submit this case to l\/[ediation with
Donald Philbin during the month of June, 2018.

Discovery Plan.

5. The Parties do not know of any changes that should be made in the timing, form or
requirement for disclosures under 26(a). The Parties will exchange initial disclosures on or
before May 7, 2018.

Limitations on Discovery.

6. The Parties have not agreed on any limitation as to the scope of discovery. The Parties
have agreed that discovery Should be completed on or before October 1, 2019 in accordance
with the Proposed Scheduling Order. The Parties have committed to working together to

schedule and facilitate discovery in a cost efficient fashion.

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7. The Parties do not know of any issues, at this time, concerning disclosure, discovery or
preservation of electronically stored information

8. The Parties do not know of, at this time, any unusual claims of privilege.

9. At this time, the Parties do not know of any limitation on discovery imposed under the
Federal Rules of Civil Procedure or any other Local Rules. At this time, the Parties are not
asking for any limitation as to discovery.

lO. The Parties do not know of any Order, other than the proposed Scheduling Order, that
the Court should issue at this time.

WHEREFORE, PREMISES CONSIDERED, the Parties pray that the Court accepts its
Rule 26(f) Report and that their proposed Scheduling Order be approved.
Respectfully submitted,

By: /s/Ml'chael W. Johnston
Michael W. Johnston
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ATTORNEY FOR DEFENDANT
CERTIFICATE OF SERVICE

l hereby certify that on this 23rd day of April, 2018, the foregoing document was
electronically transmitted to the Court Clerk using the ECF System for filing. The Court Clerk
will transmit a Notice of Electronic Filing to the following registrants:

Joe E. Edwards

Emilie B. Wedman

Crowe & Dunlevy

A Professional Corporation

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/s/Ml'chael W. Johnston
Michael W. Johnston

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lN THE UN|TED STATES DlSTRlCT COURT FOR THE
WESTERN DlSTRlCT OF TEXAS
SAN ANTON|O DlV|S|ON

TEU SERV|CES, |NC.,
P|aintiff,

V.

|NVENTRON|CS USA, |NC.,

Case No. 5:16-CV1023-RL

Defendant.

SCHEDUL|NG ORDER

Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court issues the
following Scheduling Order:

1. A report on alternative dispute resolution in compliance With Rule CV-88
shall be filed by July 31, 2018.

2. The P|aintiff shall submit a Written offer of settlement in the form of a
mediation statement that illuminates how Plaintiff calculates damages to Defendant by
May 15, 2018, and Defendant respond in the form of a mediation statement May 31,
2018.

3. The parties shall file all motions to amend or supplement pleadings or to
join additional parties by October 15, 2018.

4. Plaintiff shall file its designation of testifying experts and shall serve on all
parties, but not file, the materials required by Federal Rule of Civil Procedure
26(a)(2)(B) by June 3, 2019. Defendant shall file its designation of testifying experts and
shall serve on all parties, but not file, the materials required by Federal Rule of Civil
Procedure 26(a)(2)(B) by July 3, 2019. All designations of rebuttal experts shall be filed
Within 14 days of receipt of the report of the opposing expert

5. An objection to the reliability of an expert's proposed testimony under
Federal Rule of Evidence 702 shall be made by motion, specifically stating the basis for
the objection and identifying the objectionable testimony, not later than 60 days of
receipt of the Written report of the expert's proposed testimony, or not later than 30 days
of the expert's deposition, if a deposition is taken, Whichever is later.

6. The parties shall complete all discovery on or before October 1, 2019.
Counsel may by agreement continue discovery beyond the deadline, but there Will be
no intervention by the Court except in extraordinary circumstancesl and no trial setting
will be vacated because of information obtained in post-deadline discovery.

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7. All dispositive motions as defined in Rule CV-7(c) shall be filed no later
than November 1, 2019.

8. This case is set for trial [docket call, orjury selection] on January 13, 2020
at 9:00 a.m. The parties should consult Rule CV-16 regarding matters to be filed in
advance of trial.

S|GNED this day of

 

UN|TED STATES DlSTRlCT JUDGE

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